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                     EXHIBIT 3
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


  KELLY ARNDT and SHIRLEY SILKISS,
  individually and o/b/o all others similarly
  situated,
                                                                  Class Action
           Plaintiffs,
                                                                  CASE NO.:
  v.

  TWENTY-ONE EIGHTY-FIVE, LLC,
  a Delaware limited liability company,
  and STATE FARM BANK, F.S.B.,
  a federal savings bank,

           Defendants.



                              DECLARATION OF MELISSA KAHN

           I, Melissa Kahn, hereby depose and state as follows:

           1.      I am employed as a Bank Technical Analyst by State Farm Bank. I have personal

  knowledge of the facts set forth in this declaration. In my role as Bank Technical Analyst, I have

  access to and am knowledgeable about certain business records of Defendants State Farm Bank,

  F.S.B. ("State Farm Bank") and Twenty-One Eighty-Five, LLC ("2185"). One of my

  responsibilities is to coordinate requests for data regarding finance agreements entered into by

  State Farm Bank and/or 2185.

           2.      Based on my review of data that is reasonably accessible to State Farm Bank and

  2185, in the approximately four-year period beginning October 11, 2015, it appears that State Farm

  Bank, either on its own behalf or as servicer for 2185, repossessed approximately 1,713 motor

  vehicles in Florida. Post-repossession, it appears that deficiencies of approximately $12,016,446




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  remained arising out of approximately 1,179 repossessions. Of that, State Farm Bank, either on

  its own behalf or as servicer for 2185, recovered deficiencies of approximately $3,166,385.

           3.         My estimations are based on the following data generated on November 20, 2019:


    Year         Number of Repossessions         Total Deficiencies     Total Deficiency Recovery

   2015         51                              $391,425               $6,365
   2016         283                             $2,056,874             $523,872
   2017         409                             $2,997,583             $583,070
   2018         537                             $4,107,755             $946,269
   2019         433                             $2,462,809             $1,106,809

           4.         I also have knowledge regarding the net worth of State Farm Bank and 2185, which

  collectively exceeds $50 million.

  I declare under penalty of perjury that the foregoing is true and correct.



  EXECUTED ON:              \\   ,00 \(:) ,\Q\
  By:




  Melissa Kahn




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